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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    Case No.: 0:15-cv-62446-KMM


  DENISE BOVE,

         Plaintiff,

  vs.

  MORSE OPERATIONS, INC., a Florida
  Corporation, d/b/a Bayview Cadillac,

         Defendant.
                                                /

              JOINT MOTION TO REVIEW AND APPROVE FLSA SETTLEMENT

         Plaintiff and Defendant, by and through their respective undersigned counsel, hereby
  jointly move the Court to review and approve their settlement and dismiss this action with
  prejudice, as follows:
         1.      Plaintiff’s complaint alleges that Defendant violated the Fair Labor Standards Act
  of 1938, as amended, 29 U.S.C. § 201, et seq. (“FLSA”), by failing to pay her alleged unpaid
  overtime compensation. Defendant vigorously denies any wrongdoing under the FLSA, and
  further denies that Plaintiff is entitled to any relief whatsoever. The parties agree that there is a
  bona fide, good faith dispute as to both liability and damages regarding Plaintiff’s claims.
         2.      To avoid the costs and uncertainty of further litigation, the parties have negotiated
  a settlement of this matter during a settlement conference that took place with the Honorable
  Magistrate Judge Chris McAliley on March 2, 2016. Pursuant to Lynn’s Food Stores, Inc. v.
  United States, 679 F.2d 1350 (11th Cir. 1982), claims for back wages arising under the FLSA
  may be settled or compromised with the approval of the district court (or under the supervision
  of the U.S. Department of Labor). The parties request that the Court review and approve their
  settlement and dismiss this action with prejudice. The parties further request that the Court
  reserve jurisdiction to enforce the terms of the settlement, should such enforcement be necessary.
         3.      All parties are represented by counsel in this action, and all parties and their
  respective counsel agree and stipulate that the settlement represents a fair, reasonable, good faith
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  and arms-length compromise of Plaintiff’s claims, including her reasonable attorney’s fees and
  litigation expenses. Counsel for Plaintiff represents to the Court that he has incurred over 24
  hours of attorney time, as well as $432 in litigation costs (filing fee and service of process for
  one defendant), which supports the reasonableness of the amount allocated for attorney’s fees
  and litigation expenses under the terms of the Settlement Agreement.
         4.      Pursuant to this Court’s PAPERLESS NOTICE OF COURT PRACTICE UPON
  NOTICE OF SETTLEMENT [DE 17], the parties have filed their settlement agreement under
  seal for this Court’s review.
         WHEREFORE, Plaintiff and Defendant jointly request that the Court enter an order (a)
  approving the parties’ settlement; (b) dismissing this action with prejudice; and (c) reserving
  jurisdiction to enforce the terms of the settlement, should such enforcement be necessary. A
  proposed order is provided herewith.
         Respectfully submitted this 8th day of March, 2016.

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  s/ Robert S. Norell                                 s/Barbra A. Stern
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